                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF OKLAHOMA



 UNITED STATES OF AMERICA,

                       Plaintiff,

 v.                                              Case No. 21-CR-356-CVE

 WILLIAM COLBY COX,
 LAURA KAY SAYER,

                       Defendants.



                                    Proof of Publication

      The attached Declaration of Publication (Exhibit A) and the Notice of Forfeiture

action (Exhibit B) reflect publication on an official government internet site

(www.forfeiture.gov) for at least thirty consecutive days, beginning on June 4, 2022,

through July 3, 2022, as required by Fed. R. Crim. P. 32.2(b)(6)(C) and Rule

G(4)(a)(iv)(C) of the Supplemental Rules for Admiralty or Maritime Claims and

Asset Forfeiture Actions, as evidenced by the advertisement Certification Report

(Exhibit C).
   Executed on the 17th day of August 2022.


                                        Respectfully submitted,

                                        CLINTON J. JOHNSON
                                        UNITED STATES ATTORNEY


                                        /s/ Reagan V. Reininger
                                        REAGAN V. REININGER, OBA #22326
                                        Assistant United States Attorney
                                        110 West 7th Street, Suite 300
                                        Tulsa, Oklahoma 74119
                                        Telephone: (918) 382-2700
                                        Email: reagan.reininger@usdoj.gov




                                Certificate of Service

   I hereby certify that on August 17, 2022, the foregoing document was
electronically transmitted to the Clerk of Court using the ECF System for filing and
transmittal of a Notice of Electronic Filing to counsel of record.

                                        /s/ Janna Tomah
                                        JANNA TOMAH, Data Analyst


                                           2
